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                                                                                  JAMES S. RICHTER
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                                            December 3, 2024

  BY ECF
  Honorable Cathy L. Waldor, U.S.M.J.
  United States District Court
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07102
                  Re:     In Re Selenious Acid Litigation
                          Civil Action No. 24 CV 7791 (BRM)(CLW))

   Dear Judge Waldor:

         This firm, together with Winston & Strawn LLP, represents Defendants, Somerset
  Therapeutics, LLC, Somerset Pharma, LLC and Odin Pharmaceuticals, LLC (collectively
  “Somerset Pharma”) in the above-referenced matter. Pursuant to Your Honor’s preferences with
  respect to pro hac vice applications on consent, enclosed please find a copy of the following,
  submitted on Somerset Pharma’s behalf:
          1.     Declaration of James S. Richter in support of application for admission of
                 counsel pro hac vice.
          2.     Declaration of Kurt A. Mathas.
          3.     Declaration of Kevin J. Boyle.
          4.     Declaration of Lauren M. Rennecker.
          5.     Proposed form of Order granting admission of counsel pro hac vice.


         Plaintiff’s counsel has consented to this application and the pro hac vice admission of
  counsel. If the enclosed proposed form of Order is acceptable to Your Honor, we respectfully
  request that it be entered.
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         We thank Your Honor for your consideration of this request. Should Your Honor have
  any questions, we are available at your convenience.

                                               Respectfully submitted,

                                               s/ James S. Richter

                                               James S. Richter


  Encl.

  Cc: All Counsel of Record (w/encl)(by ECF)
